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                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF TEXAS
                              WACO DIVISION

TOT POWER CONTROL, S.L,                   §
                                          §
                  Plaintiff,              §
                                          §
                                          §   Civil Action No. 6:21-cv-00107-ADA
v.                                        §
                                          §
AT&T MOBILITY LLC,                        §
                                          §   JURY TRIAL DEMANDED
                  Defendant,              §
                                          §
                                          §
NOKIA OF AMERICA CORPORATION,             §
                                          §
                  Intervenor-Defendant.   §
                                          §
ERICSSON INC.                             §
                  Intervenor-Defendant.   §


TOT POWER CONTROL, S.L,                   §
                                          §
                  Plaintiff,              §
                                          §
                                          §   Civil Action No. 6:21-cv-00109-ADA
v.                                        §
                                          §
T-MOBILE USA, INC.,                       §
                                          §   JURY TRIAL DEMANDED
                  Defendant,              §
                                          §
                                          §
NOKIA OF AMERICA CORPORATION,             §
                                          §
                  Intervenor-Defendant.   §
                                          §
ERICSSON INC.                             §
                  Intervenor-Defendant.   §


     ORDER GRANTING UNOPPOSED MOTION TO WITHDRAW JOHN POULOS AS
              COUNSEL FOR NOKIA OF AMERICA CORPORATION
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       Nokia of America Corporation (“Nokia”) filed a motion to withdraw John Poulos as an

attorney of record for Nokia in the above-captioned matter. Having considered the motion, and

good cause having shown, the Court GRANTS the motion.



SIGNED this ____ day of _______, 2022.


                                            ALAN D. ALBRIGHT
                                            UNITED STATES DISTRICT JUDGE
